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13
                                  UNITED STATES DISTRICT COURT
14
                                 NORTHERN DISTRICT OF CALIFORNIA
15
                                     SAN FRANCISCO DIVISION
16
                                                       Case No. 3:20-cv-06469-EMC
17
     Dali Wireless, Inc.,
18                                                     CORNING OPTICAL
                    Plaintiff,                         COMMUNICATIONS LLC’S REPLY IN
19                                                     SUPPORT OF ITS RENEWED MOTION
            v.                                         FOR JUDGMENT ON THE PLEADINGS
20                                                     OF NO WILLFUL INFRINGEMENT
     Corning Optical Communications LLC,
21                                                     Date: March 31st, 2022
                    Defendant.                         Time: 1:30 PM
22                                                     Courtroom: Courtroom 5 – 17th Floor
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 1   Statutes
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 1   I.       INTRODUCTION
 2            Dali’s Opposition is high on outrage but low on substance. It glosses over the insufficiencies
 3   of its SAC in favor of salacious—but ultimately legally insufficient—theories regarding Corning’s
 4   conduct. Because Dali’s pleading is insufficient, the Court need not entertain Dali’s lurid tales of
 5   misconduct. Nonetheless, Dali’s theories are not only counterfactual, they are legally impermissible.
 6   Dali has tried and tried again to adequately plead willfulness. It failed. Corning’s Motion should
 7   be granted, and Dali should not be given yet another try to get it right.
 8   II.      DALI’S SAC INSUFFICIENTLY PLEADS WILLFULNESS
 9            In its Opposition, Dali goes to great lengths to distract the Court from the actual pleadings.
10   There is good reason for this: the SAC insufficiently pleads willfulness.
11            A.      Dali’s Arguments Regarding Pre-Suit Knowledge of Two of the Patents-In-
                      Suit Are Irrelevant
12

13            Dali argues that the Original Complaint retroactively ceased to exist when the First Amended
14   Complaint (“FAC”) was filed and that “pre-suit knowledge” really means “pre-infringement-
15   allegation.” Opp. at 12-13. Fortunately, the Court does not need to address Dali’s arguments.
16            Even assuming Dali is correct that Corning possessed “pre-suit knowledge” of the ’261 and
17   ’454 patents because it learned of the patents a few days before the FAC was filed (but during the
18   pendency of the case), Dali did not plead “egregious conduct” during the relevant time period. The
19   Supreme Court noted in Halo that “culpability is generally measured against the knowledge of the
20   actor at the time of the challenged conduct.” Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923,
21   1933 (2016).1 “Since Halo, courts in this District have required willful infringement claims to show
22   both ‘knowledge of the . . . [p]atents’ and ‘egregious conduct’ in order to survive a motion to
23   dismiss.” Apple Inc. v. Princeps Interface Techs. LLC, 2020 U.S. Dist. LEXIS 52787, at *6 (N.D.
24   Cal. Mar. 26, 2020) (citing Finjan, Inc. v. Cisco Sys., 2017 U.S. Dist. LEXIS 87657, at *14 (N.D.
25   Cal. June 7, 2017)) (emphasis in original). Moreover, in Apple, the Court dismissed a willfulness
26   claim where the plaintiff’s allegations of post-filing “egregious” conduct were insufficient to
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         All emphasis added unless otherwise noted.
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 1   “establish egregious conduct.” Apple Inc., 2020 U.S. Dist. LEXIS 52787, at *10. As a result,
 2   conduct occurring before Corning knew of these patents is legally irrelevant to a willfulness inquiry.
 3   Dali did not plead any facts regarding egregious conduct that occurred after acquiring knowledge
 4   but before the FAC.2 Dali thus failed to plead willfulness for the ’261 and ’454 patents.
 5             B.     Dali’s Egregious Conduct Pleadings Are Insufficient
 6             As Dali correctly notes in its opposition: “a claim can be dismissed…where there is ‘an
 7   absence of sufficient facts alleged to support a cognizable legal theory.’” Opp. at 11 (citing Shroyer
 8   v. New Cingular Wireless Servs., Inc., 622 F.3d 1035, 1041 (9th Cir. 2010)). Indeed, in deciding
 9   either a 12(b)(6) or a 12(c) motion, the Court must only accept as true “factual allegations”
10   contained in the complaint and must only construe “factual allegations” in the light most favorable
11   to the non-moving party. Opp. at 11; Erickson v. Pardus, 551 U.S. 89, 94 (2007); Cahill v. Liberty
12   Mut. Ins. Co., 80 F.3d 336, 337-338 (9th Cir. 1996). Courts—including the Supreme Court—draw
13   a distinction between factual allegations, and legal conclusions and unsupported theories couched as
14   factual allegations. In Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007), the Supreme Court observed
15   that to survive a motion to dismiss “requires more than labels and conclusions, and a formulaic
16   recitation of the elements of a cause of action will not do.” Id. at 555. Twombly reinforced the
17   Supreme Court’s longstanding jurisprudence that “courts ‘are not bound to accept as true a legal
18   conclusion couched as a factual allegation.’” Id. (quoting Papasan v. Allain, 478 U.S. 265, 286
19   (1986)). As a result, a court “need not accept as true statements of law or unsupported conclusory
20   factual allegations.” Yeftich v. Navistar, Inc., 722 F.3d 911, 915 (7th Cir. 2013).
21             Dali raises many issues and arguments outside of the pleadings (addressed below in section
22   III), but does precious little to defend the actual contents of its SAC. Indeed, Dali neatly summarizes
23   the relevant passages of the SAC as containing little more than allegations that “Corning did nothing
24   to ensure that the products acquired as part of the SpiderCloud acquisition did not infringe Dali’s
25   patents” and that Corning remained “willfully blind as to whether it infringed.” Opp. at 13. These
26   2
         An allegation that Corning “continues to sell the accused SpiderCloud products” is insufficient as it
27
     relates to ongoing sales and not pre-suit activities.
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 1   allegations are not factual allegations, but are instead the legal theories and conclusions of its
 2   counsel. Dali’s SAC contains no factual allegations to support these theories, and as such it is
 3   insufficient and should be dismissed.
 4            Not only are there no factual allegations pled to support Dali’s theories, but the only alleged
 5   facts Dali recites in its Opposition directly contradict its legal theories. Dali alleges that Corning
 6   “did nothing” to investigate the alleged infringement and that it was “willfully blind,” but then
 7   spends several pages of its Opposition arguing that Corning’s actions were inadequate to avoid
 8   willful infringement. Opp. at 13-16. For example, Dali acknowledges that Corning’s business
 9   personnel “made a business decision to continue selling the infringing products based on a
10   ‘subjective good faith belief’” that Corning did not infringe, Opp. at 5, and that Corning has removed
11   the accused functionality. Opp. at 23. Setting aside that much of Dali’s argument is impermissible
12   (as discussed below), Dali cannot simultaneously assert a theory that Corning “did nothing” and
13   argue that what Corning did was not enough. This contradiction between Dali’s theories and the
14   factual arguments it attempts to make is precisely why unsupported theories are insufficient to
15   adequately plead willfulness.
16   III.     DALI’S WILLFULNESS THEORIES ARE NOT LEGALLY VIABLE
17            As an initial matter, the Court does not need to consider the factual arguments made by Dali
18   that are outside the pleadings. Dali dedicates a significant portion of its Opposition arguing that
19   subsequently developed evidence and testimony supports the theories pled in its SAC, but this misses
20   the point. As Dali notes, the Supreme Court noted in Twombly that “once a claim has been stated
21   adequately, it may be supported by showing any set of facts consistent with the allegations in the
22   complaint.” Opp. at 12 (citing Twombly, 550 U.S. at 563). Because Dali failed to meet the threshold
23   of adequately stating a claim, it is unnecessary to consider whether the evidence is consistent with
24   its theories.
25            Nonetheless, Dali’s theory of willfulness runs directly contrary to statute and Supreme Court
26   precedent.
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 1          A.      The Supreme Court Precluded Dali’s Theory that Corning Failed to Exercise
                    Due Care
 2

 3          Running throughout Dali’s SAC and Opposition is its theory that Corning’s infringement
 4   was willful because it “did nothing to ensure that the products acquired as part of the SpiderCloud
 5   acquisition did not infringe Dali’s patents.” SAC at ¶¶ 40, 67; Opp. at 13. Dali’s theory, which
 6   amounts to a theory that Corning acted negligently, applies an affirmative duty upon Corning to
 7   avoid infringement. This “affirmative duty of due care” standard was articulated by the Federal
 8   Circuit in Underwater Devices v. Morrison-Knudsen Co., 717 F.2d 1380 (Fed. Cir. 1983), but was
 9   expressly overruled by the Federal Circuit in In re Seagate Tech., LLC, 497 F.3d 1360, 1371 (Fed.
10   Cir. 2007) (“[W]e overrule the standard set out in Underwater Devices…”). And although the
11   particular test for evaluating willfulness articulated by Seagate was subsequently overruled by Halo,
12   the Halo court reaffirmed Seagate’s elimination of the “affirmative duty” standard of care. Thus,
13   Dali’s theory and purported evidence supporting a theory that Corning did not exercise due care to
14   avoid infringement are legally improper and irrelevant.
15          B.      Dali’s Theory that Corning Improperly Neglected to Obtain an Opinion of
                    Counsel Is Barred by Statute
16

17          Dali’s Opposition also takes issue with the steps that Corning took to conclude that it does

18   not infringe the asserted patents and argues that Corning should have obtained an opinion of counsel.

19   Indeed, one of Dali’s headings reads as follows: “Despite discussing the patents-in-suit with

20   Corning’s in-house counsel, Corning’s decision-makers did not seek an opinion from him when

21   the[y] decided to keep selling infringing products.” Opp. at 9.

22          Dali’s argument is foreclosed by statute. 35 U.S.C. § 298 is explicit and unambiguous:

23                  The failure of an infringer to obtain the advice of counsel with respect to
                    any allegedly infringed patent, or the failure of the infringer to present such
24                  advice to the court or jury, may not be used to prove that the accused
                    infringer willfully infringed the patent or that the infringer intended to
25                  induce infringement of the patent.

26   Despite this, Dali argues that the willfulness theories—not facts—pled in its SAC are proven by
27   Corning’s failure to obtain an opinion of counsel. Corning is not going to assert an opinion of
28   counsel defense regardless of whether willfulness is in the case, thus Dali’s insistence that Corning
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 1   acted willfully because it failed to obtain an opinion of counsel is entirely improper under § 298.
 2   Dali’s theory is directly contrary to the relevant statute and must be rejected.
 3            C.     Dali Is Grasping at Straws and Amendment Would Be Futile
 4            Dali recently moved to compel Corning to produce additional interrogatory responses and to
 5   provide additional corporate testimony, arguing that it needed more information to support its
 6   willfulness theory. Dali’s argument was, in essence, that it needed to know more about how Corning
 7   learned of the ’358 patent in order to determine whether there were facts that supported willfulness.
 8   During the hearing, Chief Magistrate Judge Spero roundly rejected Dali’s arguments, describing
 9   them as “sound[ing] like a man who is desperate.” Barton Reply Dec., Ex. 3 at 8:23. Dali likely
10   understands that its pleadings and the facts developed in discovery do not come anywhere close to
11   establishing willfulness, but it is desperate to tell a story for the jury—a story that runs contrary to
12   Supreme Court precedent and statute—in order to smear Corning’s name.
13            Simply put: Dali does not have a legally viable, factually supported willfulness theory. This
14   case is past the close of fact discovery, and Dali’s willfulness theories remain a collection of
15   unsupported conclusions, conjecture, and theories that the Supreme Court and Congress have
16   rejected. In several instances, Dali outright misrepresents the facts in an effort to smear Corning. 3
17   Dali already had a chance to replead willfulness and elected not to remedy its prior deficiencies or
18   heed the Court’s warnings. Leave to amend should not be granted. See Carvalho v. Equifax Info.
19   Servs., LLC, 629 F.3d 876, 892 (9th Cir. 2010) (a court is justified in denying leave to amend when
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         For example, Dali argues in its section regarding the Read factors—an argument that is entirely
21

22   premature—that “Corning has taken no remedial action.” Opp. at 16. This is false. As Corning

23   already explained to Dali during discovery, the accused functionality in the accused products was

24   defaulted to “off” and never turned “on” by Corning’s customers, and Corning went a step further
25
     and subsequently removed the accused functionality. Barton Reply Dec., Ex. 4 at 10-15. Corning is
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     thus perplexed how Dali can maintain either an infringement theory or a viable, non-de minimis
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     damages theory.
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 1   a plaintiff “repeated[ly] fail[s] to cure deficiencies by amendments previously allowed”); Brod v.
 2   Sioux Honey Ass’n, 927 F. Supp. 2d 811, 833 (N.D. Cal. 2013) (Chen, J.) (dismissing with prejudice
 3   where “any further amendment to the complaint beyond the Second Amended Complaint herein
 4   would be futile”); People.ai, Inc. v. Clari Inc., 2022 U.S. Dist. LEXIS 14573, at *11 (N.D. Cal. Jan.
 5   26, 2022) (denying leave to amend with prejudice where “amendment is futile because the additional
 6   factual allegations that [plaintiff] has inserted into its proposed second amended complaint do not
 7   address the deficiencies pointed out in the order granting [defendant] judgment on the pleadings”
 8   and noting that “[f]utility alone can justify denial of a motion for leave to amend” (internal quotations
 9   and citations omitted)).
10   IV.      DALI’S ATTEMPT TO CONVERT THIS TO A FRCP 56 MOTION IS BASELESS
11            Dali argues that Corning’s Motion “relies on facts outside the pleadings.” Opp. at 4. This is
12   false. The only basis for Dali’s position is its argument that Corning referenced the WDTX
13   proceedings.4 Corning did not cite the WDTX proceedings as evidence of why Dali failed to
14   adequately plead willfulness in this case. Instead, Corning cited the WDTX proceedings to highlight
15   Dali’s unsuccessful attempts, through substantially identical pleadings, to improperly inject its
16   baseless willfulness claim into multiple cases against Corning.
17            This Case does not exist in isolation. Dali’s unfocused and halting approach to litigation
18   against Corning has forced Corning to expend significant sums of money defending against
19   insufficiently pled willfulness allegations and discovery motions brought by Dali. Below is an
20   overview of Dali’s litigation tactics:
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         Dali also seems to argue that Corning relied on facts outside the pleadings because Corning argued
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     that Dali lacked the facts to support its willfulness theory. It strains credulity to argue that observing
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     the absence of factual support for allegations in Dali’s pleadings is relying on facts outside the
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     pleadings.
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 1
      Date          Court         Case No.     Action
 2    12/30/2019    W.D.N.C.      3:19-cv-714  Dali files a Complaint against Corning alleging
                                               infringement of U.S. Patent Nos. 10,159,074 (“the
 3
                                               ’074 patent”) and 9,769,766 (“the ’766 patent”).
 4    4/30/2020     W.D.N.C.      3:19-cv-714  Dali files an Amended Complaint dropping both the
                                               ’074 and ’766 patents, and adding U.S. Patent Nos.
 5                                             10,433,261 (“the ’261 patent”), 9,197,358 (“the ’358
                                               patent”), and 10,506,454 (“the ’454 patent”). The
 6                                             Complaint includes a willfulness allegation.
 7    7/22/2020     W.D.N.C.      3:19-cv-714  The Magistrate Judge recommends the case be
                                               transferred to the Northern District of California.
 8    9/9/2020      W.D.Tex.      6:20-cv-827  Dali files a Complaint against Corning alleging
                                               infringement of the ’766 patent for the second time
 9                                             and asserting U.S. Patent No. 9,826,508 (“the ’508
                                               patent”). The Complaint includes a willfulness
10                                             allegation.
11    10/8/2020     W.D.Tex.      6:20-cv-827  Dali seeks leave to amend the Complaint to drop the
                                               ’766 patent for a second time.
12    12/4/2020     W.D.Tex.      6:20-cv-1108 Dali files a new, separate case asserting the ’508
                                               patent against Corning, despite the fact that the -827
13                                             case asserting the ’508 patent against Corning
                                               remained pending, because it lacked standing. The
14
                                               Complaint does not include a willfulness allegation
15                                             and does not include a request for injunctive relief.
      08/19/21      N.D.Cal.      3:20-cv-6469 The Court grants Corning’s Motion for Judgment on
16                                             the Pleadings of No Willful Infringement with leave
                                               to amend.
17    11/12/21      W.D.Tex.      6:20-cv-1108 Deadline to amend the pleadings without leave of
18                                             Court.
      12/23/21      W.D.Tex.      6:20-cv-1108 Dali moves to add willfulness and a request for
19                                             injunctive relief.
      1/20/22       W.D.Tex.      6:20-cv-1108 The Court rejects Dali’s attempt to challenge
20                                             privilege designations relating to Corning documents
                                               that Dali alleges support a willfulness theory.
21
      1/27/22       W.D.Tex.      6:22-cv-104  Dali files yet another Complaint against Corning,
22                                             this time adding Corning’s customer, Verizon, as a
                                               defendant.
23    2/1/22        W.D.Tex.      6:20-cv-1108 The Court denies Dali’s attempt to add willfulness.
      03/04/22      N.D.Cal.      3:20-cv-6469 Chief Magistrate Spero rejects Dali’s attempt to get
24                                             additional discovery Dali argues is relevant to
25                                             willfulness.

26          Dali haled Corning to court in three different districts and with six different Complaints.

27   When Dali lost its most recent attempt to inject willfulness into the WDTX case, it approached

28   Corning a few days later and proposed a stay of its own case. It filed three complaints in this matter
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 1   alone, and has lost every single discovery motion and contested motion across all cases with the
 2   exception of a motion to transfer in the WDTX case (that it subsequently asked to stay).
 3            Corning’s citation to the WDTX transcript was not reliance on facts outside the pleadings.
 4   It was an attempt to inform the Court of the full context of Dali’s litigation tactics.
 5   V.       CONCLUSION
 6            For the foregoing reasons, Corning respectfully requests that the Court enter judgment on
 7   the pleadings finding that Dali’s SAC fails to state a claim for willful infringement, without leave to
 8   amend.
 9

10                                                    ALSTON & BIRD LLP
11

12    Dated: March 16, 2022                    BY: /s/ Michael J. Newton

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